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1
     DAVID LIEBRADER, ESQ.
     STATE BAR NO. 5048
2
     THE LAW OFFICES OF DAVID LIEBRADER
     3960 HOWARD HUGHES PARKWAY STE 500
3
     LAS VEGAS, NV 89169
     PH: (702) 380-3131
4
     Attorney for Plaintiff
5
                                 UNITED STATES DISTRICT COURT
6
                                      DISTRICT OF NEVADA
7

8
     IN THE MATTER BETWEEN                                   )   Case No. 20-CV-02285-APG-EJY
                                                             )
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     Eugene McAteer,                                         )
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                     PLAINTIFF,                              )   STIPULATION AND ORDER
                                                             )
11
        v.                                                   )
                                                             )
12
     Sunflower Bank, N.A. and DOES 1-10 and                  )
     ROES 1-10, inclusively                                  )
13
                                                             )
              DEFENDANTS                                     )
14
     ________________________________                        )
15
             IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff and
16
     Defendant that Plaintiff may have up to and including January 19, 2021 to file his Opposition to
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     Defendant’s Motion to Dismiss.
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19           This Stipulation is entered into due to the shortened response time as a result of the

20   holiday season. This Stipulation is made in good faith, and not for the purposes of any undue

21   delay. This is the first request for an extension.

22           IT IS SO STIPULATED.
23   Dated this 30 day of December, 2020.                  Dated this 30 day of December, 2020.

24   GARMAN TURNER GORDON                                  THE LAW OFFICES                 OF    DAVID
                                                           LIEBRADER
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     By: /s/ Erika Pike Turner                         By: /s/ David Liebrader
2       Erika Pike Turner, Esq.                           David Liebrader, Esq,
        7251 Amigo Street, Suite 210                      3960 Howard Hughes Parkway Ste. 500
3       Las Vegas, NV 89119                               Las Vegas, NV 89169
        Attorneys for Defendant                           Attorney for Plaintiff
4

5
                                              ORDER
6    IT IS SO ORDERED:

7           1.       That Plaintiff shall have up to and including January 19, 2021 to file his

     Opposition to the Motion to Dismiss.
8
            Dated this ____         December
                       30th day of _________________, 2020.
9

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11                                                     DISTRICT COURT JUDGE
     Submitted by:
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13   By /s/: David Liebrader
     Attorney for Plaintiff
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